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                                                     Pursuant to the E-Government Act,
                                                    the original of this page has been filed
                                                       under seal in the Clerk's Office.


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